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 6                             UNITED STATES DISTRICT COURT

 7                             EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,
 9
                 Plaintiff,
10
                      v.                         CR. No. S-05-144-DFL
11
     ADRIAN DAMIAN-BALDOVINOS,
12
                 Defendant.
13                                           /     RELATED CASE ORDER

14   UNITED STATES OF AMERICA,

15               Plaintiff,

16                    v.                         CR. No. S-05-145-EJG

17   ROSALVA BERNAL and
     BENITO LE DESEMA,
18
                 Defendants.
19                                           /

20        Examination of the above-entitled criminal actions reveals

21   that these actions are related within the meaning of Local Rule

22   83-123, (E.D. Cal. 2005).

23        The parties should be aware that relating the cases under

24   Local Rule 123 merely has the result that both actions are

25   assigned to the same judge; no consolidation of the actions is

26   effected.   Under the regular practice of this court, related
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 1   cases are generally assigned to the judge to whom the first

 2   filed action was assigned.

 3          IT IS THEREFORE ORDERED that the action denominated CR.

 4   NO. 05-145-EJG is reassigned to Judge David F. Levi for all

 5   further proceedings.    Henceforth the caption on all documents

 6   filed in the reassigned case shall be shown as CR. NO. 05-145-

 7   DFL.
 8          IT IS FURTHER ORDERED that the Clerk of the Court make

 9   appropriate adjustment in the assignment of criminal cases to

10   compensate for this reassignment.

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12   DATED:   5/3/2005

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15                                      DAVID F. LEVI
                                        Chief United States District Judge
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